    Case 6:05-cr-06161-DGL-JWF            Document 389          Filed 01/05/09    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                             SCHEDULING ORDER

                                                             PRESENCE OF EACH DEFENDANT
                                                             AT ARGUMENT ON OBJECTIONS
                                                             TO PSR


                                                             05-CR-6161L

                       v.

JOHN NICOLO, CONSTANCE ROEDER,
DAVID FINNMAN,


                              Defendants.
________________________________________________


       I have directed bifurcated proceedings concerning resolution of sentencing issues. A

schedule has been established for filing objections to the presentence reports and argument dates

concerning those objections have, or will soon be, scheduled.

       The issue is whether defendants are required to be present at this proceeding. None of the

defendants now reside near Rochester, New York. Mr. Nicolo is, of course, in custody, and

defendants Finnman and Roeder are not.

       Obviously, there is no problem if defendant waives his presence at the argument. The

question, though, is whether, without the waiver, must the defendant be physically present in court.
    Case 6:05-cr-06161-DGL-JWF             Document 389         Filed 01/05/09       Page 2 of 2




       FED . R. CRIM . P. 43 states that a defendant “must” be present at “sentencing.” This argument

on the presentence report is not the pronouncement of sentencing, but it is certainly an important

part of the sentencing process.

       Defendant’s presence is not required under Rule 43(b)(3) at a proceeding that involves only

a “hearing on a question of law.”

       I direct that the parties advise the Court, in writing, on or before January 9, 2009 as to their

respective positions and intentions on this issue. Depending on your positions, arrangements will

have to be made by the defendants and by the United States Marshal Service.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge


Dated: Rochester, New York
       January 5, 2009.




                                                -2-
